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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

TA NGOC HUNG,

      Petitioner,

v.                                                 Case No. 4:20cv324-TKW-MAF
WILLIAM P. BARR, et al.,

      Respondents.
                                               /

                                     ORDER

      This case is before the Court based upon the magistrate judge’s Report and

Recommendation (Doc. 11). No objections were filed. Having reviewed the Report

and Recommendation and the case file, I agree with the magistrate judge’s

determination that this is due to be dismissed as moot. Accordingly, it is

      ORDERED that:

      1.     The magistrate judge’s Report and Recommendation is adopted and

             incorporated by reference in this Order.

      2.     Respondents’ amended motion to dismiss (Doc. 10) is GRANTED,

             and this case is DISMISSED as moot.

      3.     The Clerk shall close the file.
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DONE and ORDERED this 25th day of September, 2020.

                        T. Kent Wetherell, II
                       T. KENT WETHERELL, II
                       UNITED STATES DISTRICT JUDGE




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